                          Case 21-13451               Doc 21          Filed 01/31/22 Entered 01/31/22 15:29:59                                   Desc Main
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Fill in this information to identify your case:
 Debtor 1                    Lawanda                          K                                 Hewitt
                           First Name                       Middle Name                       Last Name                                    Check if this is an amended plan,
                                                                                                                                           and list below the sections of the
 Debtor 2                                                                                                                                  plan that have been changed
 (Spouse, if filing)
                                                                                                                                     7.1
                           First Name                      Middle Name                       Last Name

 United States Bankruptcy Court for the:               Northern           District of:   Illinois
                                                                                            (state)

 Case number
 (if known)              21-13451




Official Form 113
Chapter 13 Plan                                                                                                                                                            12/17


 Part 1:               Notices

 To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                         option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that do not comply with local rules
                         and judicial rulings may not be confirmable.
                         In the following notice to creditors, you must check each box that applies.


 To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                         You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you
                         may wish to consult one.
                         If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to confirmation at least 7
                         days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may confirm this
                         plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of
                         claim in order to be paid under any plan.
                         The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan includes
                         each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set
                         out later in the plan.

 1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial payment or                        Included              Not included
         no payment at all to the secured creditor
 1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in Section                            Included              Not included
         3.4
 1.3     Nonstandard provisions, set out in Part 8                                                                                         Included              Not included


 Part 2:               Plan Payments and Length of Plan

 2.1 Debtor(s) will make regular payments to the trustee as follows:
        $690.00 per month for 36 month(s)

        If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the payments to creditors
        specified in this plan.




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 2.2 Regular payments to the trustee will be made from future income in the following manner:
      Check all that apply.
         Debtor(s) will make payments pursuant to a payroll deduction order.
         Debtor(s) will make payments directly to the trustee.
         Other (specify method of payment):


 2.3 Income tax refunds.
      Check one.
         Debtor(s) will retain any income tax refunds received during the plan term.
         Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will turn over to the
         trustee all income tax refunds received during the plan term.
         Debtor(s) will treat income tax refunds as follows:


 2.4 Additional payments.
      Check one.
         None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.


 2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is $24,840.00


 Part 3:      Treatment of Secured Claims

 3.1 Maintenance of payments and cure of default, if any.
      Check all that apply.
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.




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 3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.
      Check one.
         None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
         The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.


 3.3 Secured claims excluded from 11 U.S.C. § 506.
      Check one.
         None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.
         The claims listed below were either:
           (a) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the personal use
           of     the debtor(s), or
           (b) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value.
           These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or directly by
           the debtor(s), as specified below. Unless otherwise ordered by the court, the claim amount stated on a proof of claim filed before the filing deadline under
           Bankruptcy Rule 3002(c) controls over any contrary amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated
           below are controlling. The final column includes only payments disbursed by the trustee rather than by the debtor(s).


      Name of creditor                     Collateral                     Amount of claim            Interest       Monthly plan         Estimated total
                                                                                                     rate           payment              payments by trustee

       Capital One Auto Finan               2017 Lexus ES350               $21,994.00                 5.25%         $436.81               $24,898.17
                                                                                                                    Disbursed by:

                                                                                                                        Trustee
                                                                                                                        Debtor(s)




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 3.4 Lien avoidance.
      Check one.
         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
         The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.


 3.5 Surrender of collateral.
      Check one.
         None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
         The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s) request that upon confirmation of
         this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be terminated in all respects. Any allowed
         unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

      Name of creditor                                                                              Collateral

       American Credit Acceptance                                                                    2010 Lexus ES350




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 Part 4:      Treatment of Fees and Priority Claims
 4.1 General
      Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without postpetition
      interest.

 4.2 Trustee’s fees
      Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 7.00% of plan payments; and during the plan
      term, they are estimated to total $1,738.80

 4.3 Attorney’s fees
      The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,500.00

 4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
      Check one.
         None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
         The debtor(s) estimate the total amount of other priority claims to be $640.00

 4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
      Check one.
         None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

 Part 5:      Treatment of Nonpriority Unsecured Claims
 5.1 Nonpriority unsecured claims not separately classified.
      Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the option providing the largest
      payment will be effective. Check all that apply.

           The sum of
            10.00% of the total amount of these claims, an estimated payment of $7,711.86
           The funds remaining after disbursements have been made to all other creditors provided for in this plan.
           If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $27.00 Regardless of the options
           checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount.




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 5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

           None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
           The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below on which the last
           payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the debtor(s), as specified below. The
           claim for the arrearage amount will be paid in full as specified below and disbursed by the trustee. The final column includes only payments disbursed by
           the trustee rather than by the debtor(s).

      Name of creditor                   Current installment                     Amount of arrearage                       Estimated total
                                         payment                                 to be paid                                payments by trustee

       Fed Loan Serv                                                              $0.00                                     $0.00
                                          Disbursed by:

                                              Trustee
                                              Debtor(s)
       Fed Loan Serv                                                              $0.00                                     $0.00
                                          Disbursed by:

                                              Trustee
                                              Debtor(s)
       Fed Loan Serv                                                              $0.00                                     $0.00
                                          Disbursed by:

                                              Trustee
                                              Debtor(s)

 5.3 Other separately classified nonpriority unsecured claims. Check one.

           None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.




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 Part 6:       Executory Contracts and Unexpired Leases

 6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
     unexpired leases are rejected. Check one.

           None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

 Part 7:       Vesting of Property of the Estate
 7.1 Property of the estate will vest in the debtor(s) upon.
      Check the applicable box:

           plan confirmation.
           entry of discharge
           other

 Part 8:       Nonstandard Plan Provisions
 8.1 Check “None” or List Nonstandard Plan Provisions

           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

 Part 9:       Signature(s):
 9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney


If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the Debtor(s), if any, must
sign below.


û       Signature of Debtor 1
                                                                                     û         Signature of Debtor 2
        Executed on                                                                            Executed on
                                 MM / DD / YYYY                                                                        MM / DD / YYYY

û      /s/ Shamus Boyd
        Signature of Attorney for Debtor(s)
                                                                                               Date                     1/31/2022
                                                                                                                       MM / DD / YYYY
By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the wording and order of the
provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any nonstandard provisions included in Part 8.




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Exhibit: Total Amount of Estimated Trustee Payments
The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts set out below and the actual
plan terms, the plan terms control.

  a.       Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                                             $0.00

  b.       Modified secured claims (Part 3, Section 3.2 total)                                                                                     $0.00

  c.       Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                                                $24,898.17

  d.       Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                                      $0.00

  e.       Fees and priority claims (Part 4 total)                                                                                                 $6,878.80

  f.       Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                                               $7,711.86

  g.       Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                                           $0.00

  h.       Separately classified unsecured claims (Part 5, Section 5.3 total)                                                                      $0.00

  i.       Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                                                $0.00

  j.       Nonstandard payments (Part 8, total)                                                                                                 + $0.00

           Total of lines a through j                                                                                                              $39,488.83




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